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     U>           Attorneys for Defendants
                  ZIONIST ORGANIZATION OF AMERICA
              7   and MORTON KLEIN

              8                         UNITED STATES DISTRICT COURT

              9                    CENTRAL DISTRICT - CENTRAL DISTRICT

             10

             11   ORIT ARFA, an individual,              Case No.

w    2
             12                   Plaintiff,             ILos Angeles Superior Court Case No.
5    1                                                    JC503861]
             13   vs.
                                                         DECLARATION OF MORTON
UJ   C   <

X    <       14   ZIONIST ORGANIZATION OF                KLEIN IN SUPPORT OF
u
                  AMERICA, a New York                    DEFENDANTS' NOTICE OF
             15   corporation; MORTON KLEIN, an          REMOVAL TO FEDERAL COURT
                   individual; and DOES 1 through 20,    UNDER 28 U.S.C. § 1441 (A); 28
             16   inclusive,                             U.S.C. § 1332

             17                   Defendants.            Complaint Filed:     March 25, 2013

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                  DECLARTION OF MORTON KLEIN ISO REMOVAL TO FEDERAL COURT
                                                                                        4831-9822-5427
                  CASE NO.
             Case 2:13-cv-02942-ABC-SS Document 3 Filed 04/25/13 Page 2 of 4 Page ID #:242



                     1

                     2                         DECLARATION OF MORTON KLEIN

                  3              I, Morton Klein, do hereby state and declare as follows;
                  4              1.    I am the National President for the Zionist Organization ofAmerica
                  5       and a defendant in the above-entitled matter. I have personal knowledge of the
                  6       facts stated herein, and could and would testify competently thereto, if called upon
                  7       to do so.

                  8             2.     I currently reside in the State ofPennsylvania. I have lived in the State
                 9        ofPennsylvania since IffC*
                 10             I declare under penalty of perjury under the laws of the United States of

a.
                11        America that the foregoing is true and correct.
                12

                13
O    Z
                                Executed this 25th day ofApril, 2013, in 2<^ CfAJpBA) ^A^Z
a.
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                         /*-£« i&jtj P&/VA/$ VL i/faVtA-
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                                                               Morton Klein
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                         DECLARTION OF MORTON KLEIN ISO REMOVAL TO FEDERAL COURT
                         CASE NO.


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Case 2:13-cv-02942-ABC-SS Document 3 Filed 04/25/13 Page 3 of 4 Page ID #:243



 l
                               CERTIFICATE OF SERVICE
 2
     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3         I am a citizen of the United States and a resident of the State of California,
     over the age of eighteen years, and not a party to the within action. My business
 4   address is 233 Wnshire Boulevard, Suite 600, Santa Monica, California 90401. On
     April 25, 2013,1 served the following document(s) by the method indicated below:
 5
              DECLARATION OF MORTON KLEIN IN SUPPORT OF
           DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
 6
                       UNDER 28 U.S.C. § 1441 (A); 28 U.S.C. § 1332
 7
       [~1 by transmitting via facsimile on this date from fax number (310) 255-0986
 8          the document(s) listed above to the fax number(s) set forth below. The
            transmission was completed before 5:00 p.m. and was reported complete and
 9
            without error. Service by fax was made by agreement of the parties,
10          confirmed in writing. The transmitting fax machine complies with Cal. R.Ct
            2003(3).
11
       |xl by placing the document(s) listed above in a sealed envelope(s) with postage
12
            thereon fully prepaid, in the United States mail at Santa Monica, California
13          addressed as set forth below. I am readily familiar with the firm's practice
            of collection and processing correspondence for mailing. Under that practice
14
            it would be deposited in the U.S. Postal Service on that same day with
15          postage thereon fully prepaid in the ordinary course of business. I am aware
            that on motion of the party served, service is presumed invalid if postal
16
            cancellation date or postage meter date is more than one day after date of
17          deposit for mailing in affidavit.
18     |"~1 by placing the document(s) listed above in a sealed envelope(s) and by
            causing messenger delivery of the envelope(s) to the person(s) at the
19
            address(es) set forth below. I am readily familiar with the business practice
20          of my place of employment with respect to the collection and processing of
            correspondence, pleadings and notices for hand delivery. On April 25, 2013,
21
            I caused to be served via messenger the above-listed documents.
22     |~~| by personally delivering the document(s) listed above to the person(s) at the
23          address(es) set forth below.

24
       |~1 by placing the document(s) listed above in a sealed envelope(s) and
            consigning it to an express mail service for guaranteed delivery on the next
25          business day following the date of consignment to the address(es) set forth
            below.
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     DECLARTION OF MORTON KLEIN ISO REMOVAL TO FEDERAL COURT
     CASE NO.
        Case 2:13-cv-02942-ABC-SS Document 3 Filed 04/25/13 Page 4 of 4 Page ID #:244



         1         Bryan C. Altman
         2
                   Joel E. Elkins
                   The Altman Law Group
         3         6300 Wilshire Blvd., Ste. 980
         4         Los Angeles, CA 90048
                   Phone:(323)653-5581
         5         Fax: (323) 653-5542
         6         I declare under penalty of perjury under the laws of the United States that the
             foregoing is true and correct, and that I am employed by an officer of a member of
         7   the bar of this Court at whose direction the service was made. Executed on
             April 25, 2013 at Santa Monica, California.
         8
                                                                           l&bUA^
         9                                                          Karen Torres

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             DECLARTION OF MORTON KLEIN ISO REMOVAL TO FEDERAL COURT
             CASE NO.
